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                                                   U.S. Department of Justice

                                                   United Stales Attorney
                                                   District ofNew Jersey

Craig Cwenlra                                      970 8raSinei. Suite 700      (973) 645-2100
United Siaie, Attorney                             Newark, New Jersey 07102



                                                   February 16, 2018

Vincent C Scoca, Esq.
The Law Offices of Vincent C. Scoca
                                                                    -
395 Franklin Street                                   c/’. Ia’— /flCS}
Bloomfield, New Jersey 07003

                     Re: Plea Agreement with Scott Spina, Jr.,

Dear Mr. Scoca:

             This letter sets forth the plea agreement between your client, Scott
Spina, Jr., and the United States Attorney for the District of New Jersey (athis
Office”). The government’s offer to enter into this plea agreement will expire on
March 2, 2018 if it is not accepted in writing by that date.

Charge

              Conditioned on the understandings specified below, this Office will
accept a guilty plea from Scott Spina, Jr., to an Information that charges him
with wire fraud, in violation of 18 U.S.C. § 1343. If Scott Spina, Jr., enters a
guilty plea and is sentenced on this charge, and otherwise fully complies with
all of the terms of this agreement, this Office will not initiate any further
criminal charges against Scott Spina, Jr., based upon his illegal use of other
person’s credit cards, as further detailed in the Information, between November
2015 and the date of this agreement. However, in the event that a guilty plea
in this matter is not entered for any reason or the judgment of conviction
entered as a result of this guilty plea does not remain in full force and effect,
Scott Spina, Jr., agrees that any dismissed charges and any other charges that
are not time-barred by the applicable statute of limitations on the date this
agreement is signed by Scott Spina, Jr., may be commenced against him
notwithstanding the expiration of the limitations period after Scott Spina, Jr.,
signs the agreement.
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Sentencing

              The violation of 18 U.S.C. § 1343 to which Scott Spina, Jr., agrees
to plead guilty carries a statutory maximum prison sentence of twenty years
and a statutory maximum fine equal to the greatest of: (1) $250,000; (2) twice
the gross amount of any pecuniary gain that any persons derived from the
offense; or (3) twice the gross amount of any pecuniary loss sustained by any
victims of the offense.

            Fines imposed by the sentencing judge may be subject to the
payment of interest.

             The sentence to be imposed upon Scott Spina, Jr., is within the
sole discretion of the sentencing judge, subject to the provisions of the
Sentencing Reform Act, 18 U.S.C. § 3551-3742, and the sentencing judge’s
consideration of the United States Sentencing Guidelines. The United States
Sentencing Guidelines are advisory, not mandatory. The sentencing judge may
impose any reasonable sentence up to and including the statutory maximum
term of imprisonment and the maximum statutory fine. This Office cannot and
does not make any representation or promise as to what guideline range may
be found by the sentencing judge, or as to what sentence Scott Spina, Jr.,
ultimately will receive.

             Further, in addition to imposing any other penalty on Scott Spina,
Jr.,, the sentencing judge: (1) will order Scott Spina, Jr., to pay an assessment
of $100 pursuant to 18 U.S.C. § 3013, which assessment must be paid by the
date of sentencing; (2) must order Scott Spina, Jr., to pay restitution pursuant
to 18 U.S.C. § 3663 et seq.; (3) may order Scott Spina, Jr., pursuant to 18
U.S.C. § 3555, to give notice to any victims of his offense; (4) must order
forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461; and (5)
pursuant to 18 U.S.C. § 3583 may require Scott Spina, Jr., to serve a term of
supervised release of not more than three years, which term will begin at the
expiration of any term of imprisonment imposed. Should Scott Spina, Jr., be
placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, Scott Spina,
Jr., may be sentenced to not more than two years’ imprisonment, which term is
in addition to any prison term previously imposed regardless of the statutory
maximum term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to an
additional term of supervised release.

             In addition, Scott Spina, Jr., agrees to make full restitution for all
losses resulting from the offense of conviction or from the scheme, conspiracy,

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or pattern of criminal activity underlying that offense.

Rights of This Office Regarding Sentencing

              Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Scott Spina, Jr., by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the full nature and extent of Scott Spina, Jr.’s
activities and relevant conduct with respect to this case.

Stipulations

             This Office and Scott Spina, Jr., agree to stipulate at sentencing to
the statements set forth in the attached Schedule A, which hereby is made a
part of this plea agreement. This agreement to stipulate, however, cannot and
does not bind the sentencing judge, who may make independent factual
findings and may reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a particular fact or
legal conclusion, each reserves the right to argue the existence of and the effect
of any such fact or conclusion upon the sentence. Moreover, this agreement to
stipulate on the part of this Office is based on the information and evidence
that this Office possesses as of the date of this agreement. Thus, if this Office
obtains or receives additional evidence or information prior to sentencing that
it determines to be credible and to be materially in conflict with any stipulation
in the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Scott Spina, Jr., from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

             As set forth in Schedule A, this Office and Scott Spina, Jr., waive
certain rights to file an appeal, collateral attack, writ, or motion after


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sentencing, including but not limited to an appeal under 18 U.S.C. § 3742 or a
motion under 28 U.S.C. § 2255.

Forfeiture

             Scott Spina, Jr., agrees that as part of his acceptance of
responsibility and pursuant to pursuant to is u.s.c. § 982(a)(2), 981(a)(i)(C)
and 28 U.S.C. § 246 1(c), he will consent to the entry of a forfeiture money
judgment as described below. All payments will be made by certified or bank
check made payable to the United States Marshals Service with the criminal
docket number noted on the face of the check. Scott Spina, Jr., will cause that
check to be hand-delivered to the Asset Forfeiture and Money Laundering Unit,
United States Attorney’s Office, District of New Jersey, 970 Broad Street,
Newark, New Jersey 07102.

             Scott Spina, Jr., will consent to the entry of a forfeiture money
judgment in the amount to be determined by the Court (the “Forfeiture Money
Judgment”). Scott Spina, Jr., acknowledges that the forfeiture money
judgment amount is subject to forfeiture as property, real or personal, that
 constitutes or is derived from proceeds traceable to her violation of 18 U.S.C. §
 1349,

              Scott Spina, Jr., agrees to consent to the entry of orders of
forfeiture and Forfeiture Money Judgment and waives the requirements of
Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding
notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Scott Spina, Jr., understands that the forfeiture and the Forfeiture Money are
part of the sentence that may be imposed in this case and waives any failure by
the court to advise his of this pursuant to Rule 1 i(b)(1)(J) of the Federal Rules
of Criminal Procedure at the guilty plea proceeding. Furthermore, Scott Spina,
Jr., waives any and all claims that this forfeiture constitutes an excessive fine
and agrees that this forfeiture does not violate the Eighth Amendment.

Immigration Consequences

             Scott Spina, Jr., understands that, if he is not a citizen of the
United States, his guilty plea to the charged offenses will likely result in him
being subject to immigration proceedings and removed from the United States
by making him deportable, excludable, or inadmissible, or ending his
naturalization. Scott Spina, Jr., understands that the immigration
consequences of this plea will be imposed in a separate proceeding before the
immigration authorities. Scott Spina, Jr., wants and agrees to plead guilty to
the charged offenses, knowing that this plea will result in his removal from the
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United States. Scott Spina, Jr., wants and agrees to plead guilty to the
charged offenses regardless of any immigration consequences of this plea, even
if this plea will cause his removal from the United States. Scott Spina, Jr.,
understands that he is bound by his guilty plea regardless of any immigration
consequences of the plea. Accordingly, Scott Spina, Jr., waives any and all
challenges to his guilty plea and to his sentence based on any immigration
consequences, and agrees not to seek to withdraw his guilty plea, or to file a
direct appeal or any kind of collateral attack challenging his guilty plea,
conviction, or sentence, based on any immigration consequences of his guilty
plea.

Other Provisions

             This agreement is limited to the United States Attorney’s Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.

              This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against Scott Spina, Jr., This agreement does not prohibit the United States,
any agency thereof (including the Internal Revenue Service and Immigration
and Customs Enforcement) or any third party from initiating or prosecuting
any civil or administrative proceeding against Scott Spina, Jr.,

              No provision of this agreement shall preclude Scott Spina, Jr., from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Scott Spina, Jr., received constitutionally
ineffective assistance of counsel.




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No Other Promises

             This agreement constitutes the plea agreement between Scott
Spina, Jr., and this Office and supersedes any previous agreements between
them. No additional promises, agreements, or conditions have been made or
will be made unless set forth in writing and signed by the parties.

                                           Very truly yours,

                                           CRAIG CARPENITO
                                           United Statesj4torney



                                       c-By: Andrew Kogan
                                         Assistant U.S. Attorney



APPROVED:



       trater
Deputy Chief, Economic Crimes Unit




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             I have received this letter from my attorney, Vincent C. Scoca,
Esq., and I have read it. My attorney and I have discussed it and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. I understand this letter
fully. I hereby accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand that no
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties. I want to plead guilty
pursuant to this plea agreement.

AGREED AND ACCEPTED:



                                           Date
Scott Spma, Jr.,
                                                    / /

             I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreemiTh fully and wants to plead guilty pursuant to it.
     7-

          S



                                           Date:
                   Esq




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                      Plea Agreement with Scott Spina, Jr.,

                                    Schedule A

             1. This Office and Scott Spina, Jr., recognize that the United States
Sentencing  Guidelines   are not binding upon the Court. This Office and Scott
Spina, Jr., nevertheless agree to the stipulations set forth herein, and agree
that the Court should sentence Scott Spina, Jr., within the Guidelines range
that results from the total Guidelines offense level set forth below. This Office
and Scott Spina, Jr., further agree that neither party will argue for the
imposition of a sentence outside the Guidelines range that results from the
agreed total Guidelines offense level.

           2. The version of the United States Sentencing Guidelines effective
November 1, 2016 applies in this case.

            3. Under U.S.S.G. § 2B1.1(a)(1), the base offense level is 7 because
conviction of the offense charged in the Information carries a statutory
maximum term of imprisonment of twenty years or more.

            4. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(1)(H) applies
because the relevant loss amount is more than $550,000 but not more than
$1,500,000. This results in an increase of 14 levels.

              5. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(2)(A) applies
because   the offense involved 19 or more victims. This results in an increase of
2 levels.

             6. As of the date of this letter, Scott Spina, Jr., has clearly
demonstrated a recognition and affirmative acceptance of personal
responsibility for the offenses charged. Therefore, a downward adjustment of 2
levels for acceptance of responsibility is appropriate if Scott Spina, Jr.,’s
acceptance of responsibility continues through the date of sentencing. See
13.5.5.0. § 3E1.1(a).

              7. As of the date of this letter, Scott Spina, Jr., has assisted
authorities in the investigation or prosecution of his own misconduct by timely
notifijing authorities of his intention to enter a plea of guilty, thereby permitting
this Office to avoid preparing for trial and permitting this Office and the court
to allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in Scott Spina, Jr.,’s offense level pursuant to
U.S.S.G. § 3E1.1(b) if the following conditions are met: (a) Scott Spina, Jr.,
enters a plea pursuant to this agreement, (b) this Office in its discretion
determines that Scott Spina, Jr., s acceptance of responsibility has continued
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through the date of sentencing and Scott Spina, Jr., therefore qualifies for a 2-
point reduction for acceptance of responsibility pursuant to U.S.S.G. §
3E 1.1(a), and (c) Scott Spina, Jr. ,‘s offense level under the Guidelines prior to
the operation of 3E1.1(a) is 16 or greater.

            8. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Scott Spina, Jr., is 20 (the “agreed total
Guidelines offense level”).

             9. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

              10. Scott Spina, Jr., knows that she has and, except as noted
below in this paragraph, voluntarily waives, the right to file any appeal, any
collateral attack, or any other writ or motion, including but not limited to an
appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which
challenges the sentence imposed by the sentencing court if that sentence falls
within or below the Guidelines range that results from the agreed total
Guidelines offense level. This Office will not file any appeal, motion, or writ
which challenges the sentence imposed by the sentencing court if that sentence
falls within or above the Guidelines range that results from the agreed total
Guidelines offense level. The parties reserve any right they may have under 18
U.S.C. § 3742 to appeal the sentencing court’s determination of the criminal
history category. The provisions of this paragraph are binding on the parties
even if the Court employs a Guidelines analysis different from that stipulated
to herein. Furthermore, if the sentencing court accepts a stipulation, both
parties waive the right to file an appeal, collateral attack, writ, or motion
claiming that the sentencing court erred in doing so.

            1 1. Both parties reserve the right to oppose or move to dismiss
any appeal, collateral attack, writ, or motion barred by the preceding
paragraph and to file or to oppose any appeal, collateral attack, writ or motion
not barred by the preceding paragraph.
